Case 1:23-cr-00016-JHR   Document 177-1   Filed 11/12/24   Page 1 of 6




    EXHIBIT 1
Case 1:23-cr-00016-JHR   Document 177-1   Filed 11/12/24   Page 2 of 6




                                                                         USAO_00000048
                   Case 1:23-cr-00016-JHR      Document 177-1            Filed 11/12/24   Page 3 of 6
                                    U.S. Customs and Border Protection
                                      U.S. Department of Homeland Security
                                            TECS - Secondary Inspection Report

08/17/2021 16:00 EDT                  Generated By:                                                Page 2 of 5
Comments History




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              Case 1:23-cr-00016-JHR      Document 177-1            Filed 11/12/24   Page 4 of 6
                               U.S. Customs and Border Protection
                                 U.S. Department of Homeland Security
                                       TECS - Secondary Inspection Report

08/17/2021 16:00 EDT              Generated By:                                               Page 3 of 5

Entered By:                    | Created Date/Time: 08/17/2021   00:20 EDT

On August 16, 2021 subject FOKIN, Evgeny DOB: 12/24/1962 arrived at JFK Terminal 1
onboard flight SU 102, subject was in possession of his valid Russian Passport PP:
531227831 along with his valid B1 visa foil: P1945849. Subject was referred to passport
control secondary                                                 . Subject stated that
he is traveling alone tonight.
Subject stated that he is coming to the US for a three-day trip for his business En+
Group. Subject stated that while in NY he will be staying at the Renaissance Midtown NY,
subject stated that he has stayed here previously. Subject stated that he has one meeting
scheduled so far with BLJ Worldwide, subject stated his contact there is Sakura Komihima,
subject stated that his meeting is scheduled on Tuesday at their NY office. Subject
stated that this is a public relations company that his company has been dealing with for
about three years. Subject stated that he has visited this company many times on his
previous travels, and they are the main US public relations firm En+ uses.
Subject stated that it is possible he will have two additional meetings while in the US.
Subject stated that he may possibly met with DCI a public relations firm that his company
deals with in DC, and Spectrum Group which is a NJ based company that his company just
signed a contract with. Subject stated that his contact at DCI is Justin Peterson, and
his company has been working with DCI for about four months. Subject stated that his
contact at Spectrum is Charlie Macgovlin (SP).

Subject stated that he has known Charlie for about two years now, subject stated that he
met Charlie through a friend Sergi Shestakov. Subject stated that him and Sergi have been
friends for many years, and he is unsure how Sergi and Charlie knew each other. Subject
stated that his first interaction with Charlie was about two years ago when Sergi,
Charlie and he were having drinks. Subject stated that since then Charlie and he have
been friends. Subject stated that he generally sees Charlie when he travels to the US and
comes to NY. Subject stated that En+ just recently entered into a contract with Spectrum
group. Subject stated that En+ found out about Charlie through a law firm that they were
dealing with who recommended him. Subject stated that beings Charlie had good reviews and
a personal relationship with him he would be a good person to help their business.
Subject stated that Spectrum will conduct due diligence on Norilsk a Russian nickel
company. Subject stated that En+ is a minority stake holder in Norilsk for about the last
15 years, and they want to make sure that the company is operating properly and without
any issues. Subject stated that he last saw Charlie in April when he was in the US,
subject stated that at that time this was a social visit. Subject stated that he is not
sure if he will see Charlie on this trip.
Subject stated that En+ is involved in power generation and aluminum production, subject
stated that he has been working for En+ for about the past 10 years. Subject stated that
he is the Director for international government relations. Subject stated that his boss
is CEO Vladimir Kirukhin. Subject stated that his job involves dealing with various
entities to affect the goals of his company. Subject stated that next to Canada his
company is the largest exporter of aluminum products to the US. Subject stated that En+
has offices in Moscow and London, subject stated that they are listed on the London stock
exchange.
Subject stated that he travels to US often for business. Subject stated that he was in
the US in June for a visit with DCI in DC. Subject stated that he traveled with the
Chairman of the En+ board Lord Barker who is from the UK. Subject stated that prior to
that he was in the US in May to visit DCI as well. Subject stated that in April he was in
the US for a visit with DCI and BLJ. Subject stated that while many of these trips are
for business, he has many friends who reside in the US who he sees.
Subject stated that during his May trip he met with his friend Daniel Russel (Dan) who is
the President of the US Russian Business Council (USRBC). Subject stated that he has
known Dan for about 10 plus years now. Subject stated that he first met him while Dan
worked for the US state department and was stationed in Moscow Russia. Subject stated
that they became friends and have maintained that relationship. Subject stated that while
he was in the US in May Dan and he met and discussed membership issues with the USRBC.
Subject stated that En+ is a member of the USRBC and has been for many years. Subject

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           Case 1:23-cr-00016-JHR      Document 177-1            Filed 11/12/24   Page 5 of 6
                             U.S. Customs and Border Protection
                               U.S. Department of Homeland Security
                                    TECS - Secondary Inspection Report

08/17/2021 16:00 EDT            Generated By:                                              Page 4 of 5

stated that he is not sure if he will see Dan on this trip.
Subject stated that he also has personal dealings with his friend Alan Mustard, subject
stated that Alan was a former US diplomat and he met him back in the late 80s when they
were both working in government. Subject stated that he remained friends with him off and
on over the years. Subject stated that they do not have any business dealings.
Subject stated that when he was in the US in June, he visited with his friend Eric Rubin
subject stated that Eric is the president of the foreign service association. Subject
stated that Eric worked in Moscow previously and that is where they met. Subject stated
that he has known him for over ten years now. Subject stated that him and Eric do not
have any business dealings and are just friends.
Subject stated that while in the US in June he also visited with his friend Gary Litman
who works in the US Chamber of Commerce. Subject stated that En+ is part of the
International Coalition for Sustainable Growth. Subject he has known Gary for about five
years when they met at an international forum in Germany. Subject stated that Gary and
his relationship is more business than pleasure.

Subject stated that from 1985 to 1997 he worked for the Russian government in the foreign
ministry. Subject stated that he began his career in San Francisco, and then eventually
moved to NY. Subject stated that he worked in the economic department and congressional
relations. Subject stated that he also served as the Assistant to the Russian Ambassador
to the US in 1995. Subject stated that he also worked in Russia for the foreign ministry
as well.

Subject stated that he has previously traveled to North Korea in 2018 for an
intergovernmental commission for cooperation between North Korea and Russia. Subject
stated that his company En+ was looking at working on some power plants that would
provide power to the people of North Korea. Subject stated that this is difficult because
with the sanctions and issues with North Korea any power provided would have to be
excluded from the North Korean government and their weapons building plants. Subject
stated that in the end his company decided against and business within the country,
because it was too difficult. Subject stated that in all he traveled to North Korea about
3 or 4 times. Subject stated that he was in Canada about three yeas ago to visit. Subject
stated that his company was looking at an aluminum plant investment in Quebec. Subject
stated that this never went through. Subject stated that he was in Brazil in 2019 for
four days. Subject stated that this was part of the BRICS national summit to include
Brazil, Russia, India, China and South Africa. Subject stated that BRICS is a way for
these countries to communicate and develop future business dealings. Subject stated that
he visits China often as they sell aluminum to China and also his company buys multiple
pieces of equipment from China. Subject stated that he has never traveled to Iraq, Iran,
Syria, Yemen, Afghanistan, Pakistan, Sudan, Somalia, Libya, or Lebanon. Subject stated
that he has no business in any of these countries. Subject stated that as the head of
En+s international government relations he deals with multiple government entities in the
countries that En+ does business. Subject stated that he has had governmental level
meetings in China, Canada, and Brazil. Subject stated that these meetings have only been
for business meetings.

Subject stated that En+ has been previously sanctioned by the US for issues involving
their former majority shareholder Oleg Deripaska. Subject stated that Deripaska was
sanctioned for issues pertaining to election interference in 2016, along with violence in
the Ukraine. Subject stated that this led to all of Deripaskas companies being
sanctioned. Subject stated that those sanctions were lifted when a deal was cut for
Deripaska to no longer run En+. Subject stated that he still maintains shares in the
company but is no longer the controlling person within the company.
Subject stated that he currently lives at Ulitsa Plushikha 42 Apt 301 Moscow Russia.
Subject stated that he lives with his wife Alla Fokina Akulkina, subject stated that she
is a retired Aeroflot employee. Subject stated that he has two children Yuri (34) subject
stated that he works as a free lance translator in Moscow. Subject stated that his
daughter Alexandria is studying international diplomacy and is finishing her masters
degree in Tel Aviv.
Subject stated that he is in possession of 200 USD and his company is paying for his

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                   Case 1:23-cr-00016-JHR      Document 177-1            Filed 11/12/24       Page 6 of 6
                                     U.S. Customs and Border Protection
                                       U.S. Department of Homeland Security
                                            TECS - Secondary Inspection Report

08/17/2021 16:00 EDT                    Generated By:                                                  Page 5 of 5

trip. Subject stated that he has no military service and does not belong to any
charities, or political groups. Subject stated that he speaks Russian and English.
Subject stated that he graduated from the Moscow State Institute of International
Relations in 1985 with an international relations degree. Subject stated that he has a
car service waiting to take him to the hotel tonight.

Subject provided the following contact information
Phone number and WhatsApp: 79857654319, 74992617617 and business 74956427937
Email: evgenyf@enplus.ru

Facebook: Evgeny Fokin 49
Subject was thanked for his cooperation and escorted to the FIS exit.

TFO Romanovich was on site for the entirety of the exam.
A baggage exam was conducted with negative results



Referral Reason History

Referred By:                    | Referred Date/Time:08/16/2021   17:10 EDT | Referred From




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